       CASE 0:09-cr-00373-RHK-FLN               Doc. 227     Filed 06/20/12      Page 1 of 1

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


United States of America,                                  Criminal No. 09-373 (1) (RHK/FLN)

                                 Plaintiff,                             ORDER

v.

Guillermo Villanueva-Garcia,

                                Defendant.


          Before the Court is Defendant’s Motion under 28 U.S.C. § 2255, seeking relief from the

statutory mandatory minimum sentence imposed following his plea of guilty to possession with

the intent to distribute 100 or more kilograms of marijuana. The thrust of the instant motion is

the Court’s denial of his entitlement to the so-called safety valve which, if applicable, would

have eliminated the mandatory minimum sentence of 60 months. The Court determined that

Defendant had been evasive and not truthful during his “proffer” session with the Government.

Defendant styles the argument as ineffective assistance of counsel, but there was nothing

ineffective in the manner his counsel represented him. He simply did not fully and truthfully

provide the Government with the required information. The Motion is without merit and will be

denied.

          Based on the foregoing, and on all the files, records and proceedings herein, including a

transcript of the March 1, 2010, Change of Plea hearing, IT IS ORDERED:

          1.   Defendant’s Motion (Doc. No. 225) is DENIED; and

          2. The Court DECLINES to issue a Certificate of Appealability.

          LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: June 20, 2012                            s/Richard H. Kyle
                                                RICHARD H. KYLE
                                                United States District Judge
